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                                                                                                      Exhibit A
5.20.01 0 - Business license.

           (a) Each business, profession or occupation within the Town, which business, profession or
                 occupation consists of the selling of goods, wares, merchandise or service; the performing or
                 rendering of service for charge; the leasing, renting or furnishing of an accommodation; and the
                 carrying on or engaging in any nonresidential business shall obtain and maintain a business
                 license. Each business, profession or occupation conducted at a separate physical location,
                 regardless of ownership, shall obtain and maintain a separate business license.

           (b) Each individual accommodation unit or vacation home which is separately owned, including but
                 not limited to a condominium unit, shall obtain and maintain a business license for the individual
                 unit as provided in Section 5.20.030. An entity or company managing one (1) or more individual
                 accommodation units or vacation homes, shall obtain and maintain a business license for the
                 management business separate from the business license of the owner of the individual
                 accommodation unit or vacation home.

   (Ord. 1-91 §1 (part), 1991; Ord. 19-91 §1 (part), 1991; Ord. 18-93 §2, 1993; Ord. 20-01 §1, 2001; Ord. 4-04 §1,
   2004; Ord. 19-07 §1, 2007; Ord. 28-07 §1, 2007; Ord. 02-09 §§1, 2, 2009)

   (Ord. No. 01-16, § 1, 1-26-2016; Ord. No. 07-18 §1 (Exh. A), 11-27-2018)


5.20.020 - Definitions.

      In this Chapter, the following words and phrases shall have the following meanings:

          Accommodation means the rental, leasing or occupancy of an accommodation unit, individual
      accommodation unit, vacation home or bed and breakfast inn for a term of less than thirty (30) days.

          Accommodation site means one (1) individual parcel of real property consisting of two (2) or more
      accommodations units that are all owned and managed by a person(s) or entity.

          Accommodation unit means any room, mobile home, recreational vehicle, camp site, or other area in
      a visitor-serving facility that provides temporary lodging, such as any hotel, motel, guest house,
      apartment, dormitory, mobile home park, recreational vehicle park or campground, or any such similar
      place, to any person whom, for a consideration, uses, possesses, or has the right to use or possess such
      room, mobile home site, recreational vehicle site, camp site or other area for a term of less than thirty
      (30) days.

          Bed and breakfast inn means a detached single-family residential dwelling accommodation that is
      operator-occupied or an on-site manager resides on the premises during the accommodation use.

          Building contractor means a business, profession or occupation whose primary business is the
      physical construction of structures and their appurtenances, including but not limited to:


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                 Acoustical contractor;

                 Air conditioning contractor;

                 Asphalt contractor;

                 Cabinets and cabinet makers;

                 Carpenter;

                 Caulking contractor;

                 Ceiling contractor;

                 Concrete contractor;

                 Counter tops contractor;

                 Demolition contractor;

                 Drilling and boring contractor;

                 Drywall contractor;

                 Electrical contractor;

                 Excavating contractor;

                 Fire system installation contractor;

                 Framing contractor;

                 General contractor;

                 Heating/mechanical contractor;

                 Home building;

                 Home improvement contractor;

                 House mover contractor;

                 Insulation contractor;

                 Landscape contractor;

                 Mason contractor;

                 Painting contractor;


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                  Patio, deck, porch, building/enclosure contractor;

                  Paving contractor;

                  Plumbing contractor;

                  Remodeling and repairing contractor;

                  Road building contractor;

                  Roofing contractor;

                  Septic tanks and systems contractor;

                  Siding contractor;

                  Sprinkler system contractor;

                  Swimming pool contractor;

                 Tile/ceramic contractor; and waterproofing contractor.

          General business means the carrying on or engaging in any business, profession or occupation within
      the Town, which business, profession or occupation consists of the selling of goods, wares, merchandise
      or services or the performing or rendering of service for charge; except the carrying on or engaging in an
      accommodation, building contractor, home business, or outdoor mobile food vending.

          Home business means a business, profession or occupation conducted within or from a dwelling by a
      resident as an accessory use to the residential use of the dwelling, but it does not include a building
      contractor or accommodation.

          Individual accommodation unit means any separately owned accommodation, such as a
      condominium unit, in an accommodation zoning district and within a structure containing multiple
      accommodation units, which is rented, leased or occupied for a term of less than thirty (30) days and is
      not a vacation home.

          Nonresident business means a business, profession or occupation whose business premises is
      located outside the corporate limits of the Town but is otherwise subject to the terms of this Chapter.

          Outdoor mobile food vending means a business conducted from a licensed vehicle which sells food
      and beverages to the public.

          Owner means the person owning any business, profession, occupation or accommodation. In the
      event that the owner is a nonresident or cannot be located by the Town, the operator, manager or lessee
      of any such business, profession or occupation shall be deemed an owner for all purposes of this
      Chapter.

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          Timeshare/fractional ownership means a residential dwelling unit that is subject to or operates under
      any arrangement, plan, or design whereby occupancy rights to the dwelling unit are segmented over
      time, and the rights of occupancy by owners, lessees or holders (regardless of the form of ownership or
      the form in which the right to occupy is expressed) are recurring, either on a fixed schedule or a floating
      schedule, such that in any one (1) year a change or turnover of occupancy may occur four (4) or more
      times.

           Vacation home means a residential dwelling unit that is rented, leased or occupied for
      accommodation purposes for compensation for terms of less than thirty (30) days, and includes any
      timeshare/fractional ownership without regard to occupancy length.

   (Ord. 1-91 §1 (part), 1991; Ord. 19-91 §1 (part), 1991; Ord. 18-93 §1, 1993; Ord. 11-94 §1, 1994, Ord. 15-97,
   1997; Ord. 20-98 §1, 1998; Ord. 20-01 §2, 2001; Ord. 4-04 §1, 2004; Ord. 19-07 §1, 2007; Ord. 02-09 §§3, 4,
   2009; Ord. 02-10 §1, 2010)

   (Ord. No. 01-16, § 1, 1-26-2016; Ord. No. 07-18 §1 (Exh. A), 11-27-2018; Ord. No. 08-21 §5, 5-25-2021; Ord.
   No. 20-22 , §1 (Exh. A), 12-13-2022)

5.20.110 - Additional provisions for vacation homes and bed and breakfast inns.

           (a) Business license application requirements.

                 (1) A business license for a vacation home or a bed and breakfast inn has also been known as an
                     annual operating registration or an operating permit. All such terms refer to the same
                     approval, which is a license from the Town to conduct such activities, valid for a single year.

                 (2) Local representative.

                     a. Vacation homes. The application for a business license for any vacation home shall
                        designate a local resident or local property manager residing within either the Estes Valley
                         Recreation and Park District boundary or the Estes Park School District R-3 boundary, who
                        can be contacted by telephone and is available when the vacation home is rented,
                         regarding any violation of the provisions of this Section. The person set forth on the
                        application shall be the representative of the owner for immediate violation resolution
                         purposes with regard to the operation of the vacation home. The local representative may
                         be the same person as the property owner but shall provide a different address than the
                        vacation home where the homeowner shall reside while the vacation home operates.

                     b. Bed and breakfast inns. The application for a business license for any bed and breakfast
                        inn shall designate the resident owner or on-site manager residing on the premises who
                        can be contacted and is on the property twenty-four (24) hours per day when the bed and




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    breakfast is in operation, regarding any violation of the provisions of this Section. The person set forth on
   the application shall be the representative of the owner for immediate violation resolution purposes with
    regard to the bed and breakfast inn.

                 (3) Acknowledgment of regulations. A business license for a vacation home or bed and breakfast
                     inn shall not be valid unless the property owner, and the designated local contact described
                     in paragraph (2), above (if different), sign the business license application acknowledging all
                     applicable vacation home or bed and breakfast inn regulations.

                 (4) License completion deadline. The Town Clerk issues registration packets upon finding that the
                     business license application form is complete and, if the property is in a residential zone, that
                     the property is eligible to proceed from any waitlist to licensure, based on the cap described
                     in Subsection (b), below. All requirements of the registration packet, including successful
                     completion of all required inspections, must be completed and submitted within ninety (90)
                     days from issuance of the packet from the Town Clerk, except for the life safety inspection as
                     described in paragraph (8) below. Registration packets not submitted and complete, as
                     determined by the Town Clerk, within those ninety (90) days shall be void, as shall be the
                     application itself. A new application may be made if this Section allows.

                     a. Reapplication Fee. Where a home has been the subject of a void application for lapse of
                          this ninety (90) day deadline, and another application is submitted for the same home
                          within two (2) years of the lapse, in addition to the license fee a reapplication fee must be
                          submitted with the reapplication which shall be equivalent to the business license fee for
                          the vacation home or bed and breakfast inn as enumerated in Section 5.20.030, but not
                          including the vacation home workforce housing regulatory linkage fee.

                 (5) No more than one (1) business license shall be issued and effective in any given calendar year
                     for each vacation home or bed and breakfast inn.

                 (6) State sales tax license. A condition of issuance of the license shall be proof of a current sales
                     tax license, provided by the applicant.

                 (7) Compliance inspection. To be issued a license, a vacation home or bed and breakfast inn
                     must first undergo and pass a compliance inspection to ensure compliance with this Code
                     and the regulations of the Development Code.
                 (8) Life safety inspection.

                     a. Requirement. To be issued a license, a vacation home or bed and breakfast inn must first
                          undergo and pass a life safety inspection or other required building inspection, as
                          applicable, and receive a certificate of occupancy that allows for such use, such as
                          described in Section 14.12.025 of this Code, section R327 of the International Residential
                          Code as amended.

                     b.

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    Deadlines. If no such certificate of occupancy has been issued at the time the Town Clerk issues the
    registration packet as described in paragraph (4) above, the following deadlines shall apply:

                         1. The applicant must request the life safety inspection building permit from the Building
                             Division, in the form and manner set by the division, within thirty (30) days of the
                             issuance of the registration packet from the Town Clerk.

                         2. Upon issuance of the life safety inspection building permit, the applicant must
                             complete an initial life safety inspection within thirty (30) days.

                         3. The applicant must complete and pass a final life safety inspection and obtain a
                             certificate of occupancy that allows for the proposed use within ninety (90) days of the
                             initial life safety inspection.

                     c. Lapse. Failure to meet any of these deadlines shall automatically cause the application to
                         lapse, and be void. A new application may be made if this Section allows.

                         1. Reapplication Fee. Where a home has been the subject of such a lapse, and another
                             application is submitted for the same home within two (2) years of the lapse, in
                             addition to the license fee a reapplication fee must be submitted with the
                             reapplication which shall be equivalent to the business license fee for the vacation
                             home or bed and breakfast inn as enumerated in Section 5.20.030, but not including
                             the vacation home workforce housing regulatory linkage fee.

                     d. Early inspection. Nothing in this Section shall prevent an applicant from requesting,
                         undergoing, or completing the life safety inspection or receiving the necessary certificate
                         of occupancy before the application is made or the registration packet is issued.

                 (9) Neighbor notification. Prior to issuance of an initial or transferred annual business license for
                     a vacation home or bed and breakfast inn, the owner or local representative shall be
                     responsible for mailing a written notice.

                     a. Notice shall be mailed, with certificate of mailing or other method as approved by staff, to
                         the owners of properties within one hundred (100) feet of the boundary of the subject
                         property.

                     b. Notices shall provide property address and 24/7 hotline phone number.

                     c. Proof of mailing shall be provided to the Town Clerk prior to issuance of an initial or
                         transferred annual business license.

           (b) Residential zone vacation home cap.

                 (1) Vacation home licenses in residential zoning districts (designated for the purposes of this
                     Section as zoning districts E, E-1, R, R-1, R-2, RE, and RM) shall be held at a maximum total
                     ("cap") of three hundred twenty-two (322) licenses in effect at any given time. This cap shall be
                     reviewed annually by the Town Board, in or near the month of April. Applications received at
                     any time such that their approval would cause the cap to be exceeded shall be held and kept
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    on file in the order they are received and deemed complete by the Town Clerk's Office. Applications held on
    such list (the "waitlist") shall be issued during the calendar year as licenses may become available.
    However, notwithstanding the foregoing, only applications received and deemed complete by the Town
    Clerk's Office by October 12, 2021 shall be included in the waitlist and be eligible for a license. The Town
    Board intends to establish further provisions regarding applications for licenses for vacation homes in
    residential zoning districts received or deemed complete after that date. Until provisions to the contrary
   are established, no application for a license for a vacation home in a residential zoning district that was
    received by the Town Clerk's Office after October 12, 2021 shall be valid. Such applications shall be of no
   force or effect.


                 (2) Vacation homes in non-residential zoning districts (designated as all zoning districts except
                     those enumerated in the preceding subsection) shall not be included in or subject to this cap.

           (c) Transfer of business licenses and changes to local representatives.
                 (1) Transfer.

                     a. Transferable licenses. An active license for a specific vacation home or bed and breakfast
                         inn that is not residentially zoned or that has been operating continuously (by renewal,
                         including any approved transfer) under the required license since prior to the October 18,
                         2021 effective date of Ordinance 13-21 of the Town of Estes Park shall be transferable to a
                         different owner in accordance with procedures in this Code, including paragraph (3)
                         below, and in the form and manner established by the Town Clerk's Office.

                     b. Other licenses. Licenses for vacation homes and bed and breakfast inns not addressed in
                         subparagraph (a) above are not transferrable to any person upon sale or other transfer of
                         ownership of the property. Upon such sale or transfer of ownership, the license shall
                         terminate automatically and the new owner of the property shall apply for a vacation
                         rental license if it wishes to continue the use of the property as a vacation rental. Such
                         application shall be subject to any applicable waitlist.

                 (2) Not transferable to different home. A license assigned to a vacation home or bed and
                     breakfast inn shall not be transferred to another location of the same or different ownership.

                 (3) Application required upon transfer. If the property owner changes during the annual period
                     for which the vacation home or bed and breakfast inn has been licensed, and the license is
                     eligible for transfer as described in paragraph (1) above, a new property owner of record
                     must file an application to transfer the license into their name within thirty (30) days of
                     transfer of ownership, and must ensure the vacation home or bed and breakfast inn is in
                     compliance with all other Town regulations. Properly filing a complete application within such
                     time shall automatically extend the license, under the new ownership, until such time that the
                     Town acts on the transfer application.


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                     a. Transfer fee. An application to transfer a license must include a transfer fee payment
                         equivalent to the business license fee for the vacation home or bed and breakfast inn as
                         enumerated in Section 5.20.030, but not including the vacation home workforce housing
                         regulatory linkage fee if that has already been paid for the home for the calendar year.
                         The Town Clerk issues transfer registration packets substantially the same as described in
                         Subsection (a)(4) above, which must be completed within the same deadline or the
                         application shall similarly lapse. Any reapplication for transfer allowed by this Section
                         would be subject to the same reapplication fee.

                 (4) Notification of change in local representative. If the local representative changes during the
                     calendar year, the property owner must notify the Town Clerk within fifteen (15) days of
                     change, and must ensure the new local representative is knowledgeable of all applicable
                     regulations for the vacation home or bed and breakfast inn.

           (d) Renewal.

                 (1) Business licenses for vacation homes in residential zoning districts that are deemed active as
                     of December 31 in any given year shall have priority for renewal in the following calendar year
                     over any new applications for business licenses for vacation homes in residential zoning
                     districts, provided a renewal for said active registration is received and deemed complete and
                     proper, all required inspections passed, and fees paid by January 31 of the renewal calendar
                     year. Priority for renewal shall not otherwise be afforded, and shall not be afforded where an
                     uncured violation of Town regulations for the vacation home is ongoing in the determination
                     of the Town Clerk. When priority for renewal is not afforded, an application for renewal of a
                     license for a vacation home in a residential zoning district shall be void, the term of the
                     license shall expire of its own accord, and the license shall be considered automatically to
                     have expired and terminated without any further action necessary by the Town.

                 (2) Issuance of a license for a vacation home or bed and breakfast inn shall not constitute a
                     zoning entitlement for a property's use therefor, nor shall absence of a license for a vacation
                     home or bed and breakfast inn constitute removal or abrogation of a property's zoning
                     permissibility for such use. However, both appropriate zoning permission and compliance
                     and a valid current business license shall be necessary elements in order for operation as a
                     vacation home or bed and breakfast inn to occur.

                 (3) A business license for a vacation home or bed and breakfast inn must be renewed on an
                     annual basis. A business license does not convey a right to continue operation as a vacation
                     home or bed and breakfast inn in future years. When the term of an annual license expires,
                     and the license has not been properly renewed, the license shall be considered automatically
                     to have expired and terminated without any further action necessary by the Town. All




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    provisions under this Section, including those describing priority for renewal, transferability of licenses,
    continuity of operations, and the residential cap, are subject to any future changes in state or local
    regulations.

           (e) Operating requirements.

                 (1) General requirements apply. Vacation homes and bed and breakfast inns must comply with
                     all other applicable Town regulations, including those found in the Estes Park Development
                     Code and building codes and regulations adopted under Title 14 of this Code.

                 (2) Postings.

                     a. Vacation homes and bed and breakfast inns in all zoning districts shall have a clearly
                         legible notice posted on-site. The posted notice shall be provided by the Town at the time
                        the registration packet is issued, shall be posted in a prominent location inside the
                        vacation home or bed and breakfast inn prior to or during the compliance inspection, and
                        shall remain posted in the same location for the duration of its use as a vacation home or
                        bed and breakfast inn. The posted notice shall include standard contents as determined
                        and approved by the Town Clerk.

                     b. Property line boundaries: Included in the posting, the property owner or local
                        representative shall inform all occupants of property boundaries.
                     c. The property owner or local representative shall include in all print or on line advertising
                        the business license number in the first line of the property description.

                     d. Advertising shall accurately represent the allowed use of the property, including the
                        maximum number of allowed occupants.

                 (3) Number. Only one (1) vacation home or bed and breakfast inn shall be allowed per residential
                     dwelling unit. The number of vacation homes allowed on an individual lot of record may be
                     limited, based on all regulations in this Code, the Development Code, and other regulations
                     as may be applicable.

                 (4) Parking.

                     a. Minimum required off-street parking. Except in the CD Downtown Commercial Zoning
                        District, the number of off-street parking spaces available to a vacation home or bed and
                        breakfast inn shall not be less than two (2).

                     b. Maximum off-street parking-Residential zoning districts. The maximum number of
                        vehicles parked off-street on the vacation home or bed and breakfast inn property, and
                        not parked or stored in a fully enclosed garage, shall not exceed the number of bedrooms
                        in the vacation home.

                     c. Maximum off-street parking-Non-residential zoning districts. Maximum parking for
                        vacation homes and bed and breakfast inns in non-residential zoning districts shall be
                        regulated according to the parking standards applicable to "hotel, small" as described in
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    Section 7.11 (D) of the Estes Park Development Code.

                 (5) Occupancy generally. All vacation homes and bed and breakfast inns are subject to the
                     occupancy limits adopted under Title 14, in addition to the maximums below. For the purpose
                     of this Section, occupancy shall not be counted differentially on the basis of age or status.
                     "Bedroom" and "sleeping room" are deemed equivalent terms to each other, and equivalent
                    to a sleeping space pursuant to building codes adopted under Title 14. Kitchen facilities shall
                     be limited to be consistent with single-family residential use. No kitchen facilities or cooking
                     shall be allowed in guest rooms, sleeping rooms or bedrooms.

                 (6) Occupancy for vacation homes.

                     a. Maximum occupancy in residential zoning districts: Eight or below. Except for nine-and-
                          over vacation homes that may be approved and registered under the provisions of this
                          Code via Large Vacation Home Review (LVHR) application, the maximum allowable
                          occupancy for an individual vacation home in a residential zoning district shall be eight (8)
                          occupants. Occupancy shall be further limited to a maximum of two (2) individuals per
                          sleeping room plus two (2) individuals per vacation home.

                     b. Maximum occupancy in residential zoning districts for large vacation homes. A residential
                          structure with four (4) or more sleeping rooms may apply for Large Vacation Home
                          Review (LVHR) approval as a "nine-and-over vacation home," in accordance with the
                          procedure described in Section 5.1 of the Estes Park Development Code. The maximum
                          occupancy in a nine-and-over vacation home in a residential zoning district shall be as
                          specified in the LVHR terms of approval; provided that occupancy shall be limited to a
                          maximum of two (2) individuals per sleeping room plus two (2) individuals per vacation
                          home.

                     c. Maximum occupancy in non-residential zoning districts. Occupancy shall be limited to a
                          maximum of two (2) individuals per sleeping room plus two (2) individuals per vacation
                          home in a non-residential zoning district. No overall maximum occupancy for a vacation
                          home in a non-residential zoning district shall be applicable, provided that the vacation
                          home is deemed to be in compliance with all building, fire, and health codes and that a
                          valid business license is in effect.

                 (7) Occupancy for bed and breakfast inns.

                     a. Maximum occupancy-Eight-and-under occupants. The maximum allowable occupancy
                          shall be limited by a maximum of two (2) guests per bedroom plus two (2) guests. The
                          maximum allowable occupancy for an individual bed and breakfast inn shall be eight (8)
                          occupants.

                     b.


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    Maximum Occupancy-Nine-and-over occupants. A residential structure with four (4) or more sleeping
    rooms may be permitted as a bed and breakfast inn if granted zoning approval by special review in
   accordance with the 52 procedure described in the Estes Park Development Code. The maximum
    occupancy in a nine-and-over occupant bed and breakfast inn shall be as specified in the special review
   approval granted by the Town Board; provided that occupancy shall be limited to a maximum of two (2)
    individuals per sleeping room plus two (2) individuals per bed and breakfast inn.

                      c. One (1) bedroom must be assigned to the resident owner or on-site manager and
                          therefore not added to the maximum occupancy calculations in paragraphs (7)a. and (7)b.
                          above.

                  (8) Number of parties.

                      a. Vacation homes in residential zone districts as those districts are defined in Subsection (b)
                          above shall be rented, leased or furnished to no more than one (1) party at a time,
                          occupying the vacation home as a single group. Owners of the vacation home shall not
                          occupy the vacation home while a party is present. All occupants shall be registered by
                          name on or before the time of the party's initial occupancy. The name registry shall be
                          maintained by the property owner, local representative or manager, and shall be made
                          available to the Town or any other appropriate regulatory entity upon request.
                      b. Bed and breakfast inns may be rented, leased or furnished to one (1) or more parties.

                  (9) Vacation homes and bed and breakfast inns, whether new or existing structures, shall be
                      subject to the exterior lighting requirements for new development as described in Section 7.9
                      of the Estes Park Development Code.

                 (10) Vacation homes and bed and breakfast inns shall be subject to the wildlife protection
                      requirements as described in ChaP-ter 7.20 of this Code.
                 (11) Vacation homes and bed and breakfast inns shall be subject to the requirements of the sign
                      code of ChaP-ter 17.66 of this Code, and shall obtain sign permits as required.

                 (12) Employee housing units, attainable housing units, and workforce housing units, as defined
                      and regulated by the Estes Park Development Code, shall not be designated as vacation
                      homes or bed and breakfast inns.

                 (13) Vacation homes and bed and breakfast inns shall not be allowed on residential lots of record
                      containing an accessory dwelling unit as defined and regulated by the Estes Park
                      Development Code.

                 (14) In the CD Downtown Commercial zoning district, bed and breakfast inns shall not be located
                      on the ground floor of a building fronting on Elkhorn Avenue.

                 (15) Home occupations, as defined and regulated by the Estes Park Development Code, shall not
                      be operated on the site of a vacation home, nor shall vacation homes offer ancillary services
                      to guests. Home occupations may be operated on the site of a bed and breakfast inn. Bed
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   and breakfast inns may also offer limited ancillary services to guests, such as offering classes/workshops to
   guests, provided they are in character with residential use.

                 (16) Meal service. Bed and breakfast inns may provide meal service to registered overnight guests.

                 (17) The owner of a bed and breakfast inn, or the on-site manager employed by the owner, must
                        reside on the premises at all times when the bed and breakfast inn is in operation.

                 (18) Use of solid fuel burning appliances located outside the fully contained portion of the
                        residential structure on vacation home and bed and breakfast inn properties, absent the
                        presence and oversight of the property owner or designated local representative, is
                        prohibited. Solid fuel burning appliances include but are not limited to fire pits, outdoor
                        fireplaces, portable outdoor fireplaces, portable fire pits, briquette or pellet burning grills, or
                        similar devices. Use of gas burning outdoor devices is not affected by this paragraph, but may
                        be regulated by other state and local laws, such as the ordinances of the Town and the
                        adopted fire code.

              (f) Enforcement.

                  (1) Violation. It is a violation of this Section for any owner, representative, guest or occupant of a
                        vacation home or bed and breakfast inn to be convicted, including a plea of no contest, of a
                        violation of Section 9.08.01 0 (disturbing the peace) of this Code, which violation occurs on the
                        premises of the vacation home; to fail to collect and remit all required sales tax to the state
                        due and owing for the leasing, rental or occupation of a vacation home or bed and breakfast
                        inn; to fail to comply with any provision of this Section; or to fail to acquire and pay for a
                        business license. The owner and the local representative of a vacation home shall be in
                        violation of this Section if any guest or occupant of the vacation home violates any provision
                        of this Code, including but not limited to Section 9.08.010 (disturbing the peace), the Estes
                        Park Development Code, or any other applicable law, regulation, rule, or order issued by a
                        competent governmental authority, or causes a nuisance as described in Title 8 of this Code,
                        on the premises of the vacation home. The owner and the local representative of a vacation
                        home or bed and breakfast inn shall be in violation of this Section if the vacation home or bed
                        and breakfast inn does not fully and strictly comply with the provisions of this Section,
                        including provisions which this Section references or notes that the vacation home or bed
                        and breakfast inn is subject to. A violation under Section 5.20.070 pertaining to a vacation
                        home or a bed and breakfast inn shall also be considered a violation of this Section and may
                        be enforced as such. These are all strict liability offenses.

                  (2) Remedies cumulative. Any action under this Section to enforce requirements for a vacation
                        home or bed and breakfast inn may be in addition to any other enforcement action(s)
                        permitted under this Section or under other federal, state or local laws, codes, or regulations.

                  (3)


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    Property owners and local representatives shall be jointly and severally liable for all violations under this
    Chapter attributable to either. Remedies for a violation may also be sought against both a property owner
   and a local representative, cumulatively, where both are in violation of this Chapter.

                 (4) Where any violation is a continuing offense, each day that the violation continues shall be
                     considered and held to be a separate and distinct offense.

                 (5) Fines.

                     a. Any person who shall be convicted of their initial violation of this Section shall be fined
                         two hundred fifty dollars ($250.00).

                     b. Any person who shall be convicted of their second violation of this Section occurring
                         within two (2) years of the initial violation shall be fined five hundred dollars ($500.00).

                     c. Any person who shall be convicted of their third violation of this Section occurring within
                         two (2) years of the second violation shall be fined one thousand dollars ($1,000.00).

                     d. Any person who shall be convicted of their fourth or subsequent violation of this Section
                         occurring within two (2) years of most recent prior violation shall be fined the maximum
                         amount permissible under ChaP-ter 1.20.

                     e. Any person operating a vacation home or bed and breakfast inn without the applicable
                         license, in violation of Section 5.20.070, shall be fined the maximum amount permissible
                         under ChaP-ter 1.20.

                 (6) Suspension and revocation. The Town may suspend or revoke the business license of any
                     vacation home or bed and breakfast inn for violation of the provisions of this Section as
                     follows:

                     a. The Town Clerk, upon the receipt and verification of any violation of this Section, may give
                         written notice to the owner or representative that a violation has occurred and warn of
                         potential future suspension and revocation. The Town Clerk may delegate this authority
                         to other Town staff, including a code enforcement officer.

                     b. Upon the receipt and verification of any subsequent violation of the terms and conditions
                         of this Section, within two (2) years of the date of a notice of violation and warning as set
                         forth in subparagraph (6)a. above, the Town Clerk may issue a notice of suspension of the
                         business license by giving written notice, by ordinary U.S. mail, to the owner or
                         representative of the suspension of the license. The notice of suspension is appealable as
                         described in paragraph (f)(7), below. If the notice is not appealed within the time afforded,
                         or if the notice is upheld on appeal, the license shall thereby be suspended. Said
                         suspension shall be for one (1) year from the date the suspension becomes final. The
                         property may not be operated as a vacation home or bed and breakfast inn during the
                         period of the suspension. The Town Clerk shall record the suspension with the county
                         clerk and recorder.

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                       c. If a business license is suspended as described in subparagraph (6)b., then, upon the
                           receipt and verification of any further violation of this Section either during the period of
                           suspension or within two (2) years after reinstatement, the Town Clerk may issue a notice
                           of revocation of the business license by giving written notice, by ordinary U.S. mail, to the
                           owner or representative of the revocation of the license. The notice of revocation is
                           appealable as described in paragraph (f)(7), below. If the notice is not appealed within the
                           time afforded, or if the notice is upheld on appeal, the license shall thereby be revoked.
                           Upon revocation of the license, the owner's right and privilege to conduct the business,
                           profession, occupation or accommodation within the Town is terminated. No person may
                           apply for a license for a vacation home or a bed and breakfast inn on the property subject
                           to the revocation for a period of two (2) years from the date the revocation is made final.
                           After such time, a new application may be made if this Section allows. The Town Clerk
                           shall record the revocation with the county clerk and recorder.

                 (7) Appeal. Any owner or representative who wishes to appeal a notice of revocation or
                       suspension of a license for a vacation home or bed and breakfast inn may request an
                       administrative hearing by written notice delivered in person or by certified mail, return
                       receipt requested, to the Town Clerk within fourteen (14) calendar days of the date of the
                       notice. The Town Administrator, or the Town Administrator's designee, shall act as the
                       hearing officer and shall hold a hearing on the appeal and determine whether or not a
                       violation of this Section has occurred within the applicable time period to prompt the
                       suspension or revocation, respectively. The hearing shall meet the standards of basic
                       procedural due process. The owner or representative shall be entitled to present any
                       evidence of compliance with the terms and conditions of this Section at the hearing. The
                       hearing officer need not re-adjudicate any issue resolved at a previous hearing, or any issue
                       that could have been resolved with a prior appeal. The decision of the hearing officer shall be
                       final.

   (Ord. No. 08-21 §2(Exh. A), 5-25-2021; Ord. No. 13-21 §1, 9-14-2021; Ord. No. 16-21 §2, 10-26-2021; Ord. No.
   10-22 §2, 7-12-2022; Ord. No. 13-22 §1 (Exh. B), 7-26-2022; Ord. No. 20-22 §1 (Exh. A), 12-13-2022)

5.20.120 - Vacation home workforce housing regulatory linkage fee.

           (a) Findings. The Board of Trustees finds as follows:

                 (1) The purpose of this Section is to protect the public health, safety, and welfare of the people of
                       the Town by perfecting a comprehensive regulatory program linking the operation of vacation
                       homes with the need for and provision of workforce housing.

                 (2) The Town has a program of applying Town funds to address workforce housing needs within
                       Town limits, as set forth in Town policy.

                 (3)

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   The Vacation Home Rental (Short Term Rental) Fee Study ("Study") prepared by Root Policy Research and
    presented to the Board of Trustees on March 22, 2022 demonstrates that the continued operation of
   vacation homes has a detrimental impact on the availability of workforce housing within the Town, and
    quantifies the impact, as well as the funds required to address the impact, at one thousand three hundred
    ninety dollars ($1,390.00) per vacation home per year. Accordingly, the continued operation of vacation
    homes will cause the Town to incur costs of addressing workforce housing needs.

                  (4) Vacation home rental operations rely on a sustained local workforce, which is essential not
                      only to the vacation home rental operations directly but the tourism-based portion of the
                      Town's economy as a whole, on which vacation home rental operations depend.

                  (5) A fee on vacation homes is therefore appropriate both as a service to vacation home
                      licensees to sustain a local workforce to their benefit, and also as part of a comprehensive
                      regulatory program to defray the reasonable direct costs of vacation homes on workforce
                      housing and the Town's workforce housing program.

                  (6) The Town intends to establish such a vacation home workforce housing regulatory linkage fee
                      ("fee") and apply the fee revenues to its workforce housing program. As calculated based on
                      the Study, the fee will bear a reasonable relationship to the cost to the Town of permitting the
                      continued operation of the vacation homes.
                  (7) The fee will be collected as part of the fee for a vacation home business license.

                  (8) The fee is not designed to, and will not, defray the general expenses of Town government, but
                      rather is a charge imposed for the purpose of defraying a portion of the costs of the
                      particular Town services and programs. All the revenues of the fee will support only those
                      services and programs.

                  (9) Consistent with the determination of the Colorado Supreme Court in Colorado Union of
                      Taxpayers Foundation v. City ofAspen, 2018 CO 36, that a charge is not a tax if the primary
                      purpose of the charge is not to raise revenue for general governmental purposes, but is
                      instead to defray some of the costs of regulating an activity under a comprehensive
                      regulatory scheme, the charges imposed by the Town and its enterprise as authorized by this
                      Section are fees, not taxes, because each fee is collected from each vacation home licensee
                      for the primary purpose of defraying the costs of mitigating the impact caused by the
                      vacation home when engaging in an activity that is subject to the fee in an amount reasonably
                      related to the impacts caused by the activity and the amount expended to mitigate that
                      impact; and, additionally, because the fee is collected and expended to the benefit of the fee
                      payer.

                 (10) The consumer price index is a reasonable approximation of the change over time in nominal
                      dollars of costs related to housing in Estes Park, and the U.S. Bureau of Labor Statistics
                      recommends the U.S. City Average Consumer Price Index for use in escalator clauses.

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           (b) Vacation home workforce housing regulatory linkage fee.

                 (1) As part of the annual fee to secure an annual business license for a vacation home as
                     described in Section 5.20.030, there shall be charged a vacation home workforce housing
                     regulatory linkage fee beginning with the 2023 license year. The initial amount of the fee upon
                     passage of this Section shall be one thousand three hundred ninety dollars ($1,390.00)
                     annually per vacation home license for the 2023 license year.

                 (2) The amount of the fee shall be adjusted annually for inflation as calculated by the Town Clerk,

                     based on the All Items Consumer Price Index for All Urban Consumers (CPI-U) for the U.S. City
                     Average ("Index"), as published by the United States Bureau of Labor Statistics or successor
                     federal agency. The Town Clerk shall use the Index for June 2022 as a baseline and update the
                     fee annually based on the index for each successive June. The Town Clerk shall post notice of
                     the new amount of the vacation home workforce housing regulatory linkage fee each year on
                     the Town's website prior to accepting payment of the license fee for vacation homes for the
                     following license year, and in no case later than January 1 of the year for which the license will
                     apply.

           (c) Exemption for certain vacation homes in the outlying commercial (CO) zoning district. If an

                 applicant for license or renewal of a vacation home business license in the outlying commercial
                 (CO) zoning district demonstrates to the satisfaction of the Town Clerk, in the form and manner
                 and by the reasonable time established by the Town Clerk, and in the Town Clerk's reasonable
                 judgment, (1) that the property became or would become a vacation home at a time when the
                 Development Code permitted vacation homes in the CO zoning district but prohibited household
                 living there, (2) that the property was not used for purposes of household living before becoming
                 a vacation home, and (3) that the property has not been used for purposes of household living
                 since becoming a vacation home, then the Town Clerk shall certify that the vacation home
                 business license is exempt from the vacation home workforce housing regulatory linkage fee for
                 the upcoming license year, and shall not charge this fee as part of that year's business license fee.
                 Once the fee has been paid for a vacation home, however, the Town Clerk shall not issue any
                 refund of the fee on the basis of this exemption.

           (d) The vacation home licensee may pass the expected per-rental-night costs of the fee to its
                 customers on a nightly basis by inclusion of a surcharge on each customer's bill.

           (e) All revenues from the fee shall be deposited in the workforce housing enterprise fund as
                 described in Section 5.21.060. As described therein, the revenues from the fee shall be expended
                 only to defray the reasonable direct and indirect costs of the following:

                 (1) The Town's workforce housing programs and policies, which may include but are not limited
                     to acquisition of housing units, construction of new units, purchase of deed restrictions on
                     existing units, mortgage buydowns, and rent assistance programs; and


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                 (2) To defray the costs to the Town of the foregoing, including but not limited to, costs of staff
                     and personnel required for the administration and enforcement of the regulatory program
                     described in this Section.

   ( Ord. No. 02-22 §3, 3-22-2022)




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